                                                                                                                                                                                                            Electronically Served
                                                                                                                                                                                                             7/12/2021 10:21 AM
                                         Case 3:22-cv-02228-B Document 1-1 Filed 09/13/21                                                   Page 1 of 23 PageID 10
        PROCESS
 N TIME
O 400-274-5804                                                                                                                                                                       ATTORNEY
  1                                          THE STATE OF TEXAS                                                                                                                      CITATION
1i
 '41                      Prve                          CITATION                                                                                                          PLAINTIFFS' ORIGINAL PETITION

                                               CAUSE NO.CC-21-02778-D                                                                                                             CC-21-02778-D
                                             COUNTY COURT AT LAW NO.4
                                                                                                                                                                          IN THE COUNTY COURT OF DALLAS
                                                  Dallas County, Texas                                                                                                          County Court at Law No. 4
                                                                                                                                                                                Dallas County, Texas
   TO:
              SAEFTY-KLEEN SYSTEMS, INC.                                                                                                                                RODNEY VANCE; RONEICIA BROWNING;
              SERVE ITS REGISTERED AGENT CT CORPORATION SYSTEM                                                                                                          VICTORIA GONZALEZ; MARILYN BATES;
              1999 BRYAN STREET SUITE 900                                                                                                                                DONNIE COLLINS; GEORGE DUNNING;
              DALLAS TX 75201-3136                                                                                                                                       STEPHANIE GEE; RAY VEN RICHARDS;
                                                                                                                                                                           DILDRA SEATON;SHERRICE BELL;
           "You have been sued. You may employ an attorney. If you or your Attorney do not file a WRITTEN ANSWER with the clerk who issued this citation                 BALANCE BRYANT;TRICIA FROISETH;
           by 10:00 A.M. on the Monday next following the expiration of twenty days after you were served this citation and PLAINTIFFS' ORIGINAL                        BENJAMIN WRIGHT,Jr.; ROBERT BAILEY;
           PETITION,a default judgment may be taken against you. In addition to filing a written answer with the clerk, you may be required to make initial            EVELYN NELSON; WILLIAM PATE; BLAXSIE
           disclosures to the other parties of this suit. These disclosures generally must be made no later than 30 days after you file your answer with the clerk.     MAE CROSS; BILLIE SUE MCCLANAHAN;
           Find out more at TexasLawHelp.org." Your answer should be addressed to the clerk of County Court at Law No. 4 of Dallas County, Texas at the                 FELICIA BRADLEY; KIMBERLY BOWSER;
           Court House of said County,600 Commerce Street, Suite 101, Dallas, Texas 75202.                                                                                   DONALD TERRELL,Plaintiff(s)

                                                                                                                                                                                           VS.
            RODNEY VANCE; RONEICIA BROWNING INDIVIDUALLY AND AS PERSONAL REPRESENTATIVE OF THE ESTATE OF ROBERT
          BROWNING; VICTORIA GONZALEZ MARILYN BATES INDIVIDUALLY AND AS PERSONAL REPRESENTATIVE OF THE ESTATE OF
              ARTHUR NEILL BATES ; DONNIE COLLINS; GEORGE DUNNING;STEPHANIE GEE; RAYVEN RICHARDS; DILDRA SEATON
                                                                                                                                                                       SAEFTY-KLEEN SYSTEMS,INC., Defendant(s)
          INDIVIDUALLY AND AS PERSONAL REPRESENTATIVE OF THE ESTATE OF HAROLD SEATON; ;SHERRICE BELL INDIVIDUALLY
         AND AS PERSONAL REPRESENTATIVE OF THE ESTATE OF SUSAN TURNER ; BALANCE BRYANT;TRICIA FROISETH INDIVIDUALLY                                                   SERVE:
         AND AS PERSONAL REPRESENTATIVE OF THE ESTATE OF ROBERT GAYLON DEAN ; BENJAMIN WRIGHT,Jr. INDIVIDUALLY AND
                                                                                                                                                                            SAEFTY-KLEEN SYSTEMS,INC.
         AS PERSONAL REPRESENTATIVE OF THE ESTATE OF BENJAMIN WRIGHT SR ; ROBERT BAILEY; EVELYN NELSON INDIVIDUALLY
           AND AS PERSONAL REPRESENTATIVE OF THE ESTATE OF JAMES NELSON; WILLIAM PATE; BLAXSIE MAE CROSS; BILLIE SUE                                                      SERVE ITS REGISTERED AGENT CT
            MCCLANAHAN INDIVIDUALLY AND AS PERSONAL REPRESENTATIVE OF THE ESTATE OF JOHN WALLACE MCCLANAHAN ;                                                                  CORPORATION SYSTEM
             FELICIA BRADLEY INDIVIDUALLY AND AS PERSONAL REPRESENTATIVE OF THE ESTATE OF PAUL EDWARD BRADLEY ;                                                             1999 BRYAN STREET SUITE 900
          KIMBERLY BOWSER INDIVIDUALLY AND AS PERSONAL REPRESENTATIVE OF THE ESTATE OF SUE NELL TERRELL ; DONALD                                                                DALLAS TX 75201-3136
                                                           TERRELL
                                                                        Plaintiffs)                                                                                                 ISSUED THIS
                                                                                                                                                                               12TH DAY OF JULY,2021

                                                                            VS.                                                                                            JOHN F. WARREN,COUNTY CLERK
                                                                                                                                                                           BY: GUISLA HERNANDEZ,DEPUTY
                                                             SAEFTY-KLEEN SYSTEMS,INC.
                                                                       Defendant(s)                                                                                                Attorney for Plaintiff
                                                                                                                                                                                   KURT B. ARNOLD
            filed in said Court on the 9th day ofJuly, 2021, a copy of which accompanies this citation.                                                                          ARNOLD & ITKIN LLP
                                                                                                                                                                                 6009 MEMORIAL DR
           WITNESS: JOHN F. WARREN,Clerk of the County Courts of Dallas County, Texas. GIVEN UNDER MY HAND AND SEAL OF                                                            HOUSTON TX 77098
           OFFICE,at Dallas, Texas, and issued this 12th day ofJuly, 2021 A.D.                                                                                                        713-222-3800

            JOHN F. WARREN,Dallas County Clerk
                                                                                                                                                                         NO OFFICER'S FEES HAVE BEEN
                   Zzaja.,                                    puty                                                                                                    COLLECTED BY DALLAS COUNTY CLERK
                       Guisla Hernandez




                                                                                                      EXHIBIT A
                                   Case 3:22-cv-02228-B Document 1-1 Filed 09/13/21                   Page 2 of 23 PageID 11


                                                                             OFFICER'S RETURN
 CC-2 I -02778-D   County Court at Law No. 4

 RODNEY VANCE, RONEICIA BROWNING, INDIVIDUALLY AND AS PERSONAL REPRESENTATIVE OF THE ESTATE OF ROBERT BROWNING, VICTORIA GONZALEZ.et al vs.SAEFTY-KLEEN
 SYSTEMS,INC.

 ADDRESS FOR SERVICE:
 SERVE ITS REGISTERED AGENT CT CORPORATION SYSTEM
 1999 BRYAN STREET SUITE 900
 DALLAS TX 75201-3136

 Fees:
 Came to hand on the          day of               ,20      , at      o'clock      .m., and executed in            County, Texas by delivering to SAEFTY-
 KLEEN SYSTEMS, INC. in person, a true copy of this Citation together with the accompanying copy of the PLAINTIFFS ORIGINAL PETITION with the date and
 service at the following times and places to-wit:

 Name                                                   Date/Time                         Place, Course and Distance from Courthouse


4;

 And not executed as to the defendant(s),

 The diligence used in finding said defendant(s) being:


 and the cause or failure to execute this process is:


 and the information received as to the whereabouts of said defendant(s) being:


                                                Serving Petition and Copy                                                       , Officer

                                                Total   $                                                                , County, Texas

                                                                                           By:                                  , Deputy

                                                                                                                                , Affiant
     Case 3:22-cv-02228-B Document 1-1 Filed 09/13/21            Page 3 of 23 PageID 12

                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.



Envelope ID: 55240185
Status as of 7/12/2021 10:21 AM CST

Associated Case Party: RODNEY VANCE

Name          BarNumber Email                   TimestampSubmitted    Status
Kurt Arnold             e-service@arnolditkin.com 7/12/2021 10:21:07 AM SENT
                                                                                           FILED
                                                                               7/9/2021 11:36 AM
Case 3:22-cv-02228-B Document 1-1 Filed 09/13/21      Page 4 of 23 PageID 13   JOHN F. WARREN
                                                                                 COUNTY CLERK
                                                                                DALLAS COUNTY



                                  CAUSE NO.CC-21-02778-D

Rodney Vance; Roneicia Browning,              IN THE COUNTY COURT OF
individually and as Personal            •
Representative of the Estate of Robert
Browning; Victoria Gonzalez; Marilyn
Bates, individually and as Personal            DALLAS COUNTY,TEXAS
Representative of the Estate of Arthur
Neill Bates; Donnie Collins; George
Dunning; Stephanie Gee; Rayven
Richards; Dildra Seaton, individually          COURT AT LAW NO.
and as Personal Representative of the
Estate of Harold Seaton; Sherrice Bell,
individually and as Personal
Representative of the Estate of Susan
Turner; Balance Bryant; Tricia
Froiseth, individually and as Personal
Representative of the Estate of Robert
Gaylon Dean; Benjamin Wright Jr.,
individually and as Personal
Representative of the Estate of
Benjamin Wright Sr.; Robert Bailey;
Evelyn Nelson, individually and as
Personal Representative of the Estate of
James Nelson; William Pate; Blaxsie
Mae Cross; Billie Sue McClanahan,
individually and as Personal
Representative of the Estate of John
Wallace McClanahan; Plaintiff Felicia
Bradley, individually and as Personal
Representative of the Estate of Paul
Edward Bradley; Kimberly Bowser;
Donald Terrell, individually and as
Personal Representative of the Estate of
Sue Nell Terrell;

      Plaintiffs,

v.

Safety-Kleen Systems, Inc.

      Defendant.

                          PLAINTIFFS' ORIGINAL PETITION
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       Rodney Vance; Roneicia Browning, suing individually and as Personal Representative

of the Estate of Robert Browning; Victoria Gonzalez; Marilyn Bates, individually and as

Personal Representative ofthe Estate of Arthur Neill Bates; Donnie Collins; George Dunning;

Stephanie Gee; Rayven Richards; Dildra Seaton, individually and as Personal Representative

of the Estate of Harold Seaton; Sherrice Bell, individually and as Personal Representative of

the Estate of Susan Turner; Balance Bryant; Tricia Froiseth, individually and as Personal

Representative of the Estate of Robert Gaylon Dean; Benjamin Wright Jr., individually and as

Personal Representative of the Estate of Benjamin Wright Sr.; Robert Bailey; Evelyn Nelson,

individually and as Personal Representative of the Estate of James Nelson; and William Pate

("Plaintiffs") complain of Safety-Kleen Systems, Inc. ("Defendant") and will respectfully

show the Court the following:

                                              I.

                                    NATURE OF ACTION

       1.     This lawsuit is necessary as a result of Plaintiffs developing serious illnesses,

including but not limited to kidney cancer and non-Hodgkin's lymphoma cancer as a direct

and proximate result of chemical exposure during their work at the Carrier Corporation air

conditioning manufacturing facility in Tyler, Texas. Said chemical were produced

manufacturer and othe'rwise provided to Plaintiffs' place of employment by Defendant.



                                        DISCOVERY

       2.     Discovery in this matter may be conducted under Level 2 of the Texas Rules of

Civil Procedure.



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                                   JURISDICTION AND VENUE

       3.       This Court has subject-matter jurisdiction in this case because the amount in

controversy exceeds the minimum jurisdictional limits of this Court.

       4.       This case is not removable pursuant to of 28 U.S.C. 1441. Specifically, the

Defendant in this action is a local, Texas-based entity.

       5.       This Court has personal jurisdiction over all parties to this case. Defendant is a

for-profit corporations doing business in Texas as defined in TEX. CIV. PRAC.& REM. CODE §

17.042. In addition to contracting with Texas entities and committing torts in Texas as

described below, Defendant maintains and has maintained its principal office, in Dallas

County, Texas.

       6.       Venue is proper in Dallas County, Texas, pursuant to TEX. CIV. PRAC. & REM.

CODE §15.002(a)(3) because Defendant maintains its principal office for the State of Texas,

its decision maker for the organization within the State of Texas. That is, Defendant's

employees in Dallas County are "decision makers" for the company and have "substantially

equal responsibility and authority" relative to other company officials within the state. In re

Mo. Pac. R.R. Co., 998 S.W.2d 212, 217, 220 (Tex. 1999). Indeed, Defendant's website

explicitly states that it is headquartered in Dallas County, Texas:


      satetuthleen.                                             SERVICES   PRODUCTS    MARKETS WE SERVE   ABOUT   SUPPORT




                                    CONTACT US
                                                   Headquarters

                                        1651 North Glenville Gnve: Suite 210
                                               Richardson, TX   75081
                                              Toll Free: 800.323.5040




                                                      3
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                                                       ;1.




https://www.safety-kleen.com/contact-us.1

        7.        Venue is also proper in Dallas County, Texas pursuant to TEX. CIV. PRAC. &

REM. CODE §15.002(a)(3) because Defendant maintains an office in the county at which the

amount of activity is significantly larger and substantially predominates in Dallas County,

Texas, rendering it the principal office for the corporation.

                                               IV.

                                TOLLING OF STATUTE OF LIMITATIONS


        8.       Plaintiffs did not and could not have reasonably discovered during his

employment at Carrier that his injuries and life-threatening disease resulted from of his

occupational exposure to dangerous chemicals. At the time of his cancer diagnosis, Plaintiffs

did not and could not have reasonably discovered that their cancer and/or illnesses were caused

by harmful exposure to trichloroethylene and benzene during the course of their employment

at Carrier's Tyler, Texas plant.

                                               V.

                                            PARTIES

        9.       Plaintiff Rodney Vance is a resident of Texas. Plaintiff Rodney Vance

developed injuries and damages including, but not limited to Non-Hodgkins Lymphoma as a

result of exposure to Defendant's TCE and benzene containing products while working at

Carrier's Tyler, TX plant.

         10.     Plaintiff Roneicia Browning,suing individually and as Personal Representative

ofthe Estate ofRobert Browning, is a resident of Texas. Decedent Robert Browning developed



I Defendant's website as of July 9, 2021.

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injuries and damages including, but not limited to kidney cancer as a result of exposure to

Defendant's TCE and benzene containing products while working at Carrier's Tyler, TX plant.

         1 1.   Plaintiff Victoria Gonzalez is a resident of Texas. Plaintiff Victoria Gonzalez

developed injuries and damages including, but not limited to Non-Hodgkins Lymphoma as a

result of exposure to Defendant's TCE and benzene containing products while working at

Carrier's Tyler, TX plant.

         12.    Plaintiff Marilyn Bates, suing individually and as Personal Representative of

the Estate of Arthur Neill Bates, is a resident of Texas. Plaintiff Decedent Bates developed

injuries and damages including, but not limited to Non-Hodgkins Lymphoma and multiple

myeloma as a result of exposure to Defendant's TCE and benzene containing products while

working at Carrier's Tyler, TX plant.

         13.    Plaintiff Donnie Collins is a resident of Texas. Plaintiff Collins developed

injuries and damages including, but not limited to Non-Hodgkins Lymphoma as a result of

exposure to Defendant's TCE and benzene containing products while working at Carrier's

Tyler, TX plant.

         14.    Plaintiff George Dunning is a resident of Texas. Plaintiff Dunning developed

injuries and damages including, but not limited to Non-Hodgkins Lymphoma as a result of

exposure to Defendant's TCE and benzene containing products while working at Carrier's

Tyler, TX plant.

         15.    Plaintiff Stephanie Gee is a resident of Texas. Plaintiff Gee developed injuries

and damages including, but not limited to Non-Hodgkins Lymphoma as a result of exposure

to Defendant's TCE and benzene containing products while working at Carrier's Tyler, TX

plant.


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                                                   )


       16.    Plaintiff Rayven Richards is a resident of Texas. Plaintiff Richards injuries and

damages including, but not limited to Non-Hodgkins Lymphoma as a result of exposure to

Defendant's TCE and benzene containing products while working at Carrier's Tyler, TX plant.

       17.    Plaintiff Dildra Seaton, suing individually and as Personal Representative of

the Estate of Harold Seaton, is a resident of Texas. Decedent Seaton developed injuries and

damages including, but not limited to Non-Hodgkins Lymphoma as a result of exposure to

Defendant's TCE and benzene containing products while working at Carrier's Tyler, TX plant.

       18.    Plaintiff Sherrice Bell, suing individually and as Personal Representative of the

Estate of Susan Turner, is a resident of Texas. Decedent Bell developed injuries and damages

including, but not limited to multiple myeloma as a result of exposure to Defendant's TCE and

benzene containing products while working at Carrier's Tyler, TX plant.

       19.    Plaintiff Balance Bryant is a resident of Texas. Plaintiff Bryant developed

injuries and damages including, but not limited to kidney cancer as a result of exposure to

Defendant's TCE and benzene containing products while working at Carrier's Tyler, TX plant.

       20.    Plaintiff Tricia Froiseth, suing individually and as Personal Representative of

the Estate of Robert Gaylon Dean, is a resident of Texas. Decedent Dean developed injuries

and damages including, but not limited to multiple myeloma as a result of exposure to

Defendant's TCE and benzene containing products while working at Carrier's Tyler, TX plant.

      21.     Plaintiff Benjamin Wright Jr., suing individually and as Personal

Representative of the Estate of Benjamin Wright Sr., is a resident of Texas. Decedent Wright

developed injuries and damages including, but not limited to kidney cancer as a result of

exposure to Defendant's TCE and benzene containing products while working at Carrier's

Tyler, TX plant.


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       22.    Plaintiff Robert Bailey is a resident of Texas. Plaintiff Bailey developed

injuries and damages including, but not limited to kidney cancer as a result of exposure to

Defendant's TCE and benzene containing products while working at Carrier's Tyler, TX plant.

       23.    Plaintiff Evelyn Nelson, suing individually and as Personal Representative of

the Estate of Benjamin Nelson, is a resident of Texas. Decedent Nelson developed injuries and

damages including, but not limited to Non-Hodgkins Lymphoma as a result of exposure to

Defendant's TCE and benzene containing products while working at Carrier's Tyler, TX plant.

       24.    Plaintiff William Pate is a resident of Texas. Plaintiff Pate developed injuries

and damages including, but not limited to leukemia as a result of exposure to Defendant's TCE

and benzene containing products while working at Carrier's Tyler, TX plant.

       25.    Plaintiff Blaxsie Mae Cross is a resident of Texas. Plaintiff Pate developed

injuries and damages including, but not limited to kidney cancer as a result of exposure to

Defendant's TCE and benzene containing products while working at Carrier's Tyler, TX plant.

       26.    Plaintiff Billie Sue McClanahan, suing individually and as Personal

Representative of the Estate of John Wallace McClanahan, is a resident of Texas. Decedent

McClanahan developed injuries and damages including, but not limited to multiple myeloma

as a result of exposure to Defendant's TCE and benzene containing products while working at

Carrier's Tyler, TX plant.

       27.    Plaintiff Felicia Bradley, suing individually and as Personal Representative of

the Estate ofPaul Edward Bradley, is a resident of Texas. Decedent Bradley developed injuries

and damages including, but not limited to multiple myeloma as a result of exposure to

Defendant's TCE and benzene containing products while working at Carrier's Tyler, TX plant.




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         28.   Plaintiff Kimberley Bowser, adult child of Paul Edward Bradley, is a Texas

resident who sustained injuries and damages when her father died as a result of multiple

myeloma due to exposure to Defendant's TCE and benzene containing products while working

at Carrier's Tyler, TX plant.

         29.   TCE and benzene containing products while working at Carrier's Tyler, TX

plant.

         30.   Plaintiff Donald Terrell, suing individually and as Personal Representative of

the Estate of Sue Nell Terrell, is a resident of Texas. Decedent Terrel developed injuries and

damages including, but not limited to lymphoma as a result of exposure to Defendant's TCE

and benzene containing products while working at Carrier's Tyler, TX plant.

         31.   Defendant Safety-Kleen Systems, Inc. may be served with process, by and

through, its registered agent: C T Corp System, 1999 Bryan Street, Suite 900, Dallas, TX

75201-3136.

                                              VI.


                                            FACTS

         32.   Plaintiffs worked for Carrier Corporation in the press shop, coil shop, and other

areas of the Tyler, TX air conditioning plant during and after the times at which Defendant

supplied trichloroethylene ("TCE") and benzene to the facility. During that employment,

Plaintiff was frequently exposed to TCE and benzene.

         33.   At all relevant times, Defendant supplied Carrier with chemical solvents

containing TCE, including but not limited to a solvent known as "105 Solvent", to be used by

Carrier as a degreasing agent. Among other ingredients, the 105 Solvent contained TCE and

benzene.


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        34.    TCE is a chemical solvent mainly used in industrial and commercial processes,

 including vapor degreasing. Vapor degreasing is a cleaning process for fabricated parts that

involves heating solvents like TCE in a degreasing unit to a hot vapor. The vapor condenses

onto parts placed in the unit and carries contaminants away from those parts as it beads and

then drips off. Plaintiffs were exposed to TCE and benzene in this manner, and in other ways,

during their time at Carrier.

       35.     Much of what is known about the human health effects of TCE and benzene is

based on occupational exposures. Workplace exposure to TCE carries serious health risks,

including the risk of non-Hodgkin's lymphoma cancer. These health risks were known at the

time of Plaintiffs' employment.

       36.     TCE is classified by the Environmental Protection Agency("EPA")as a known

human carcinogen. TCE is also classified as a HAP as defined by Section 112(b) of the Clean

Air Act. TCE is further defined as a halogenated solvent under EPA statutory definitions. See

40 CFR Subpart 63.460. Under the latter provision, Carrier was required to submit annual

reports to the EPA.

       37.     Carrier's Tyler plant was a significant emitter of both Hazardous Air Pollutants

(HAPs) and Volatile Organic Compounds (VOCs), specifically stemming from its TCE

consumption.

       38.     As a direct result of their frequent exposure to TCE, benzene, and/or other

hazardous chemicals, Plaintiffs developed non-Hodgkin's lymphoma, kidney cancer, and other

life-threatening ailments.

       39.     Defendant sold, provided, manufactured, delivered, and/or otherwise made

available TCE, benzene, and other hazardous chemicals to Defendant Carrier for use at its


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Tyler, TX facility. Defendant's principal place of business and "nerve center" where business

decisions are made is in Richardson, TX.

         40.   An internal memorandum from Defendant's then-Product and Process

Development Manager Paul Dittmar evinced Defendant's prior knowledge as to the hazardous,

carcinogenic effects of its product. In his memorandum, Dittmar emphasized the dangerous

level of contamination in Defendant's products, including 105 Solvent, specifically, but not

limited to, the presence of benzene. Dittmar additionally implored Defendant to utilize a

different technology known as fractional distillation in order to eliminate benzene and

drastically reduce the 105 Solvent's chlorinated content. Dittmar further demonstrated that

such a technological shift would have a negligible financial impact on Defendant's production

costs.

         41.   Nevertheless, Defendant chose not to opt for this inexpensive, less dangerous,

and ethical option in designing, producing, manufacturing, and distributing its product.

         42.   Defendant concealed from consumers including Plaintiff that its product was

contaminated with highly toxic carcinogens, including, but not limited to, benzene, TCE,

tetrachloroethylene, and many other known toxic substances, which Defendant knew had

deleterious effects on human health of those exposed to said substances.

         43.   Plaintiffs were resultant exposed to dangerous amounts of benzene through the

regular and foreseeable use of the Safety-Kleen 105 solvent.

         44.   Specifically, the 105 Solvent would flow in a stream through the air in an open

system, causing the carcinogens in the solvent to volatilize in the immediate breathing area of

the persons near the parts washer and/or degreaser units, causing Plaintiffs to inhale the toxic,

carcinogenic chemicals.


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       45.     Because of Defendant's wrongful conduct described herein, Plaintiffs suffered

serious and lasting injuries.

                                              VII.


                                     CAUSES OF ACTION

   A. Products Liability Against Defendant

       46.     Plaintiffs incorporate all prior paragraphs herein by reference.

       47.     Defendant is liable under Section 82.003(a) of the Texas Civil Practice and

Remedies Code as a non-manufacturing seller because Defendant is engaged in the business

of distributing or otherwise placing, for commercial purposes, into the stream of commerce

TCE, benzene, and other hazardous chemicals.

       48.     Defendant is liable under a products liability theory pursuant to Section

82.003(a) of the Texas Civil Practice and Remedies Code because it participated in the design

of the product and/or modified the product and Plaintiffs' harms resulted from the design,

alteration, or modification. Additionally, Defendant either had actual or constructive

knowledge of thc dangerous condition of thc TCE, benzene, and other hazardous chemicals

when they sold it for use in Plaintiffs' workplace.

       49.     Defendant manufactured, designed, distributed, and/or sold the TCE, benzene,

and other hazardous chemicals which injuied Plaintiffs, with design, manufacturing, andiui

marketing defects.

       50.    Manufacturing Defect: The equipment was designed, manufactured,

distributed, and/or sold with one or more manufacturing defects. Defendant sold the defective

TCE, benzene, and other hazardous chemicals and allowed a deviation in the quality of

construction, assembly, installation, plan, and/or specifications rendering the TCE, benzene,


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and other hazardous chemicals unreasonably dangerous. Specifically, the combination of the

defective TCE, benzene, and other hazardous chemicals rendered the chemicals unreasonably

dangerous.

         51.   Design Defect: The equipment was designed, manufactured, distributed and/or

sold with one or more design defects:

               a. Defendant designed the TCE, benzene, and other hazardous chemicals in an

                  unreasonably dangerous manner;

               b. Defendant knew of safer alternative designs that were available at the time;

               c. The safer alternative designs would have prevented or significantly reduced

                  the above risks without substantially impairing product's utility;

               d. The safer alternative design was economically and technologically feasible

                  at the time the TCE, benzene, and other hazardous chemicals left the control

                  of Defendant; and

               e. The design defect(s) rendered the TCE, benzene, and other hazardous

                  chemicals unreasonably dangerous.

   52.         Marketing Defect and Failure to Warn: The TCE, benzene, and other

hazardous chemicals were designed, manufactured, distributed, and/or sold with one or more

marketing defects:

               a. There was an unreasonable risk in the intended or reasonably foreseeable

                  use of such TCE, benzene, and other hazardous chemicals;

               b. Defendant knew, foresaw, or should have known of or foreseen the above

                  risks;

               c. Defendant failed to adequately warn Plaintiffs of the risks, failed to instruct


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                   Plaintiffs of the above risks, and/or failed to adequately instruct Plaintiffs

                   how to avoid the dangers;

                d. The marketing defect(s) rendered the TCE, benzene, and other hazardous

                   chemicals unreasonably dangerous.

          53.   The design, manufacturing, and/or marketing defect(s), rendered the TCE and

benzene unreasonably dangerous.

          54.   Plaintiffs are also entitled to exemplary damages because the aforementioned

actions and/or inactions of Defendant amounts to gross negligence. Defendant was aware of

the risks involved with using these chemicals and nevertheless proceeded in a fashion that

constitutes conscious indifference to Plaintiffs' safety and welfare. Defendant's actions and/or

inactions, viewed objectively, subjected Plaintiffs to an extreme degree of danger.

          55.   As a direct and proximate result of Defendant's negligence and gross

negligence, Plaintiffs sustained severe injuries to his body and mind, which resulted in physical

pain, mental anguish, and medical problems. Plaintiffs have also suffered a loss of earnings in

the past, as well as a loss of future earning capacity. Plaintiffs have been damaged in a sum far

in excess of the minimum jurisdictional limits of this Honorable Court, for which he now sues.

     B. Negligence

          56.   Plaintiff incorporates by reference preceding paragraphs as though fully stated

herein.

          57.   Plaintiffs used, worked with, around, and in close proximity to, handled,

inhaled, dermally absorbed, ingested, and was otherwise directly and indirectly exposed to

Defendant's various aforementioned TCE and benzene-containing products, chemicals, and

solvents, including, without limitation, the 105 Solvent in both its recycled and virgin forms.


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       58.    Defendant knew, or in the exercise of reasonable care should have known, that

employees including Plaintiffs would use, work with, around, and in close proximity to,

handle, inhale, dermally absorb, ingest, and otherwise be directly and indirectly exposed to

hazardous chemicals such as TCE and benzene in the form of products including 105 Solvent.

       59.    Defendant, knew or with the exercise of reasonable care should have known,

that their aforementioned benzene and TCE-containing products,including, without limitation,

the 105 Solvent were highly carcinogenic, inherently defective, ultra-hazardous, unreasonably

dangerous, poisonous, and otherwise highly harmful to the body and health of Plaintiffs and

other employees similarly situated.

       60.    Plaintiffs and other similarly situated Carrier employees did not know the nature

and extent of the danger to their bodies and health, including the advanced risk for non-

Hodgkin's lymphoma, cancer, endocrinic and liver diseases and damage, and other maladies

caused directly by exposure to the aforementioned benzene and TCE-containing products,

including, without limitation, 105 Solvent.

       61.    Defendant knew, or with the exercise of reasonable care should have known,

that Plaintiffs and other similarly situated employees would come into direct and indirect

contact with, handle, inhale, ingest, dermally absorb, and otherwise be exposed to benzene and

TCE through their products, including, without limitation, 105 Solvent, during their ordinary

and foreseeable use.

       62.    Defendant had a duty to all consumers, workers, and employers to exercise

reasonable care in creating, manufacturing, designing, producing, processing, marketing,

selling, warning, distributing, and otherwise placing their product into the stream ofcommerce.

This includes a duty to assure that their products, chemicals, and solvents did not pose a risk


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of injury, harm, disease, and death, including cancers such as non-Hodgkin's Lymphoma, as

well as other diseases and damages directly attributable to their product.

       63.    Defendant breached its duty and was negligent as, despite their knowledge of

the aforementioned defects and hazardous effects of their products, it nonetheless:

              a.     manufactured, produced, designed, processed, sold, marketed, supplied,

                     distributed, and/or otherwise placed into the stream of commerce their

                     various TCE and benzene-containing products, chemicals, and solvents,

                     including but without limitation 105 Solvent, that they knew to be

                     carcinogenic and at risk for causing other significant liver, endocrinic,

                     and neurological impairment, dysfunction, and damage;

              b.     Failed to take. adequate precautions to warn Plaintiffs and similarly

                     situated employees that their products were carcinogenic and known to

                     also result in liver, endocrinic, and neurological impairment,

                     dysfunction, and damage;

              c.     Failed to take adequate precautions to warn Plaintiffs and similarly

                     situated employees of reasonably safe, sufficient, and necessary

                     safeguards, personal protective equipment, apparel, appliances, and

                     controls to reasonably protect them from exposure to the risks inherent

                     in their aforementioned products;

              e.     Continued to manufacture, produce, distribute, sell, process, market, and

                     otherwise place into the stream of commerce these products which were

                     at all times known by Defendant to be highly carcinogenic and/or

                     associated with liver, endocrinic, and neurological impairment,


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                      dysfunction, and damage;

               f.     Failed to comply with all federal, state, local, and trade statutes, codes,

                      regulations, laws, and ordinances relating to TCE and benzene, including

                      actions required to determine and analyze the hazardous qualities of their

                      products and the warnings and instructions accompanying the same,

                      pursuant to, and without limitation, 29 CFE 1910.1200, CFR 1910.1028,

                      and 49 CFR Parts 100-199;

               g.     Failed to take all reasonable, necessary, proper, and prudent measures to

                      test their aforementioned products to determine the content and quantity

                      of benzene and TCE released into the breathing zone of the end user and

                      dermally absorbed by the user during these products' ordinary, intended,

                      and foreseeable use;

               h.     Failed to test these products for health hazards, including the substantial

                      risk of cancer (including non-Hodgkin's lymphoma) and other liver,

                      endocrinic, and neurological impairments, dysfunction, and damages.

       64.     As a direct and proximate result of Defendant's acts and omissions, Plaintiffs

developed, suffers, and will continue to suffer from life-threatings illnesses including non-

Hodgkin's lymphoma, kidney cancer, multiple myeloma, and the numerous side effects,

conditions, and illnesses caused by these illnesses, which have caused and will continue to

cause Plaintiffs pain, suffering, disability, impairment, mental anguish, physical harm, and a

substantially increased risk for a shorter life expectancy, In addition, as a direct and proximate

result of Defendant's acts and omissions, Plaintiffs require ongoing, necessary medical

treatment for their injuries, which in turn necessitates and will continue to necessitate


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hospitalizations, medicines, and other treatment for their illnesses and injuries and will incur

additional, substantial economic expenses and losses.

                                             VIII.

                                         JURY TRIAL

       65.     Plaintiffs hereby request a trial by jury on all claims and submits their jury fee

herewith.

                                              Ix.
                                           PRAYER

       Plaintiffs pray that this citation issue and be served upon Defendant in a form and

manner prescribed by law,requiring Defendant appear and answer, and that upon final hearing,

Plaintiffs have judgment against Defendant in a total sum in excess of the minimum

jurisdictional limits of this Court, plus pre-judgment and post-judgment interests, all costs of

Court, and all such other relief to which Plaintiffs show themselves justly entitled. As required

by Rule 47 of the Texas Rules of Civil Procedure, Plaintiffs affirmatively state that they seek

damages in excess of $1,000,000 and prays for relief and judgment, as follows:

              • Compensatory damages against Defendant;

              • Actual damages;

              • Consequential damages;

              • Pain and suffering;

              • Exemplary damages;

              • Past and future mental anguish;

              • Past and future impairment;

              • Past and future wage loss;


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           • Past and future medical costs;

           • Interest on damages (pre-judgment and post-judgment) in accordance with

              the law;

           • Costs of court;

           • Expert witness fees;

           • Cost of copies of depositions; and

           • Such other and further relief as the Court may deem just and proper.



                                       Respectfully Submitted,

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Cristal Becerra on behalf of Kurt Arnold
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Status as of 7/12/2021 8:39 AM CST

Associated Case Party: RODNEY VANCE

 Name               BarNumber Email                        TimestampSubmitted     Status
 Kurt Arnold                   e-service@arnolditkin.com   7/9/2021 11:36:47 AM   SENT

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